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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         District District
                                                     __________   of New ofMexico
                                                                            __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.
   ONE USPS PRIORITY MAIL EXPRESS PARCEL                                     )                         24mr140
      BEARING USPS TRACKING NUMBER                                           )
              EI 013 965 454 US
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A (incorporated by reference).

located in the                                    District of               New Mexico                  , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B (incorporated by reference).


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. 841(a)(1)                       Distribution of a controlled substance
        21 U.S.C. 846                             Conspiracy

          The application is based on these facts:
        See the attached affidavit of U.S. Postal Inspector Benjamin Whip which is incorporated by reference and has
        been reviewed and approved by AUSA Elaine Ramirez.
           u Continued on the attached sheet.
           ✔ Delayed notice of 90 days (give exact ending date if more than 30 days:
           u                                                                      s:   04/22/2024                            ) is reque
                                                                                                                                  requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                 heet.


                                                                                                       Applicant’s
                                                                                                       A pplic
                                                                                                            ica
                                                                                                            ic
                                                                                                             cant’s signature

                                                                                             Benjamin Whip, U.S. Postal Inspector
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
 telephonically sworn and electronically submitted (specify reliable electronic means).


Date:     -DQXDU\
                                                                                                         Judge’s signature

City and state: Albuquerque, NM                                                         John F. Robbenhaar, U.S. Magistrate Judge
                                                                                                       Printed name and title
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO


  IN THE MATTER OF THE SEARCH OF
  ONE USPS PRIORITY MAIL EXPRESS
  PARCEL BEARING USPS TRACKING                         Case No. ____________________
  NUMBER EI 013 965 454 US, MORE
  SPECIFICALLY DESCRIBED IN
  ATTACHMENT A


                               AFFIDAVIT IN SUPPORT OF
                        AN APPLICATION FOR A SEARCH WARRANT

        I, Benjamin Whip, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

        1.       I am a United States Postal Inspector and have been employed since May 2019. I have

completed a twelve-week basic training course in Potomac, Maryland, which included training in the

investigation of narcotics trafficking via the United States Mail. I am currently assigned to the Phoenix

Division, Albuquerque, NM Domicile which is responsible for investigating narcotic violations

involving the United States Mail. Part of my training as a Postal Inspector included narcotic

investigative techniques and training in the identification and detection of controlled substances being

transported in the U.S. Mail. Prior to my appointment as a U.S. Postal Inspector, I served as a U.S.

Border Patrol Agent with the Department of Homeland Security, Customs and Border Protection, in

Casa Grande, AZ, for nearly 11 years. I hold a Bachelor’s Degree in Criminal Justice from Michigan

State University.

        2.       I have investigated numerous narcotics investigations of individuals for violations of

Title 21, United States Code, Sections 841(a)(1) (Possession with Intent to Distribute a Controlled

Substance), 843(b) (Use of a Communication Facility to Facilitate the Distribution of a Controlled

Substance), and 846 (Conspiracy to Possess with Intent to Distribute a Controlled Substance). The

facts and information contained in this affidavit are based on my personal knowledge, as well as that

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of other Postal Inspectors and law enforcement officers involved in this investigation as described

below.

         3.       This affidavit is made in support of an application for a search warrant for one United

States Postal Service (“USPS”) Priority Mail Express parcel (hereafter, referred to as the “SUBJECT

PARCEL”). The SUBJECT PARCEL is believed to contain controlled substances and/or proceeds

from the sale of controlled substances.

         4.       The SUBJECT PARCEL is further described as follows: One USPS Priority Mail

Express parcel bearing USPS tracking number EI 013 965 454 US, addressed to “Al Perez, 1209

Montoya St. NW, Albuquerque, NM 87104” with a return address of “Jerry Perez, 2131 W. Red Range

Way, Phoenix, AZ 85085.” The SUBJECT PARCEL is a large Ready Post brown box, measuring

approximately 20 inches by 14 inches by 10 inches, weighing approximately 11 pounds 2 ounces,

postmarked January 19, 2024, and bearing $126.35 in postage.

                                            BACKGROUND

         5.       From my training and experience, as well as the training and experience of other Postal

Inspectors, I am aware the USPS mail system is frequently used to transport controlled substances

and/or proceeds from the sale of controlled substances to areas throughout the United States. I also

know drug traffickers prefer mail/delivery services such as Express Mail and Priority Mail because of

their reliability and the ability to track the article’s progress to the intended delivery point. When a

drug trafficker learns that a mailed article has not arrived as scheduled, he/she becomes suspicious of

any delayed attempt to deliver the item.

         6.       Based on my training and experience regarding Express Mail operations, I am aware

that the Express Mail service was designed primarily to fit the needs of businesses by providing

overnight delivery for time-sensitive materials. Moreover, based on my training and experience, I am

aware that business mailings often: (a) contain typewritten labels; (b) are addressed to and/or from a

business; (c) are contained within flat cardboard mailers; and (d) weigh less than eight ounces. In
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addition, corporate charge accounts were developed by the USPS to avoid time-consuming cash

payments by businesses for business mailings.

        7.       Based on my training and experience, I am aware that the Priority Mail service was

created as a less expensive alternative to Express Mail overnight delivery, but designed to provide

quicker, more reliable service than standard First-Class Mail. Whereas a customer mailing an article

via Express Mail expects next-day service, a customer who mails an article via Priority Mail can expect

two- to three-day delivery service. The USPS also provides a tracking service though a USPS tracking

number, which allows the customer to track the parcel and confirm delivery.

        8.       Based on my training and experience regarding Priority Mail operations, I am aware

the majority of Priority Mail mailings are business mailings. Businesses have found that Priority Mail

is a significantly less expensive method of mailing than Express Mail, particularly when next-day

service is not a requirement. I also know that, similar to Express Mail, Priority Mail business mailings

tend to be smaller, lighter mailings, and on average, weigh less than two pounds. Examples of the

typical types of business mailings conducted via Priority Mail include books, clothing,

pharmaceuticals, and consumer goods purchased from online retailers.

        9.       From my training, personal experience, and the collective experiences related to me by

other Postal Inspectors who specialize in investigations relating to the mailing of controlled substances

and proceeds from the sale of controlled substances, I am aware that the State of Arizona is a source

location for controlled substances based on its close proximity to the border between the United States

and Mexico. As such, controlled substances are frequently transported from Arizona via USPS, and

proceeds from the sale of controlled substances are frequently returned to Arizona via USPS.

        10.      Based on my training and experience regarding the use of Express Mail and Priority

Mail to transport-controlled substances and/or the proceeds from the sale of controlled substances, I

am aware these parcels usually contain some or all of the following characteristics:



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             a. The parcel contains a label with handwritten address information and is addressed from

                one individual to another individual, rather than from one business to another business,

                which are the entities that more commonly use Express Mail or Priority Mail;

             b. The handwritten label on the parcel does not contain a business account number,

                thereby indicating that the sender likely paid cash;

             c. The parcel is heavier than the typical mailing, often weighing more than eight ounces

                for Express Mail, and two pounds for Priority Mail; and/or

             d. The parcel either: (a) was destined for an area known to be a frequent destination point

                for controlled substances, having been mailed from an area known to be a source area

                for controlled substances; or (b) originated from an area known to be a frequent

                origination point for proceeds from the sale of controlled substances, having been

                mailed to an area known to be a destination area for proceeds from the sale of controlled

                substances.

       11.      Express Mail and Priority Mail parcels found to meet any or all of the characteristics

described above are often further scrutinized by Postal Inspectors through address verifications and an

examination by a trained narcotics detecting canine.

                RELEVANT FACTS PERTAINING TO THE SUBJECT PARCEL

       12.      On January 19, 2024, I was notified of a suspicious parcel (the SUBJECT PARCEL)

destined for Albuquerque, New Mexico from Tempe, Arizona. From my training and experience, as

well as the training and experience of other Postal Inspectors, I know Tempe, Arizona, is a source city

for methamphetamine, heroin, and fentanyl. On January 20, 2024, I intercepted the SUBJECT

PARCEL from the USPS mail stream.

       13.      Upon physical examination of the SUBJECT PARCEL, the SUBJECT PARCEL

met some of the characteristics listed in Paragraph 10 above. First, the SUBJECT PARCEL bore

handwritten address information and was addressed from one individual to another individual. Second,
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the SUBJECT PARCEL was mailed to an address in the state of New Mexico from an address in the

state of Arizona. Based on my training, experience, and the collective experiences related to me by

other Postal Inspectors who specialize in investigations relating to the mailing of controlled substances

and proceeds from the sale of controlled substances, I am aware that the State of Arizona is frequently

a source location for controlled substances that are mailed to the State of New Mexico, and that

proceeds from the sale of controlled substances are frequently returned to Arizona from New Mexico

via USPS.

        14.     I conducted a database query regarding the names and addresses appearing on the

SUBJECT PARCEL in Consolidated Lead Evaluation and Reporting (“CLEAR”), a law enforcement

database accessible to me. CLEAR associates addresses and telephone numbers to individuals and

business entities. The CLEAR database is created from credit reports, law enforcement reports, utility

records, and other public records.

        15.     Through the CLEAR database query, I learned that the delivery address for the

SUBJECT PARCEL — 1209 Montoya St. NW, Albuquerque, NM 87104 — was an existing,

deliverable address; however, a “Al Perez” did not associate with the delivery address. The same

database query revealed the return address for the SUBJECT PARCEL — 2131 W. Red Range Way,

Phoenix, AZ 85085 — was an existing, deliverable address; however, a “Jerry Perez” did not associate

with the return address.

        16.     From my training, personal experience, and the collective experiences related to me by

other Postal Inspectors who specialize in investigations relating to the mailing of controlled substances,

it is common for drug traffickers to use names not associated with an address and/or fictitious names

and addresses to evade detection by law enforcement.

                 NARCOTICS CANINE ALERT ON THE SUBJECT PARCEL

        17.     On January 22, 2024, the SUBJECT PARCEL was inspected by Metropolitan

Detention Center Lieutenant Robert Speedy and his canine partner “Ebby.” The SUBJECT PARCEL
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was separated and individually inspected by Lieutenant Speedy’s canine partner “Ebby.” Ebby is

trained and Nationally Certified by the National Narcotic Detector Dog Association. “Ebby” is trained

and certified to detect the odors of heroin, cocaine, methamphetamine, marijuana and their derivatives.

       18.     On January 22, 2024, at approximately 2:48 PM, Lieutenant Speedy advised that

“Ebby” alerted and indicated to the presence of one of the above-mentioned trained odors.


                                           CONCLUSION


       19.     Based on these facts, there is probable cause to believe the SUBJECT PARCEL

described in Paragraph 4 above contains controlled substances or proceeds from the sale of controlled

substances, constituting evidence of violations of Title 21, United States Code, Sections 841(a)(1)

(Possession with Intent to Distribute a Controlled Substance) and 846 (Conspiracy to Distribute a

Controlled Substance).

       20.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41(f)(3), that the Court authorize delay of notice of this warrant for a period not to exceed

90 days from the date that the order is entered. Agents have only recently begun this investigation and

anticipate it will remain ongoing for at least several more months. I believe, as detailed above, the

sender of and his/her co-conspirators have demonstrated their intention to thwart law enforcement’s

efforts to detect the distribution of controlled substances through the use of the USPS. There is

reasonable cause to believe that providing immediate notification may have an adverse result, as

defined in 18 U.S.C. § 2705. Providing immediate notice to the sender and/or recipient would seriously

jeopardize the ongoing investigation, as such a disclosure would give that person an opportunity to

destroy evidence, change patterns of behavior, notify confederates, and flee from prosecution. Agents

believe a delay of 90 days, until April 22, 2024, is foreseeably necessary based on the nature of this

investigation. The period of delay may thereafter be extended by the court for good cause shown.



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       21.     Assistant United States Attorney Elaine Ramirez reviewed and approved this affidavit.




Respectfully submitted,




                                                                      ______________________
                                                                           Benjamin Whip
                                                                        U.S. Postal Inspector
Telephonically sworn and electronically submitted
on this 23rd day of January 2024.




_____________________________________
_____
   _ _________________
 HONORABLE
HOONORABLE JOHN F. ROBBENHAAR
                      R
UNITED STATES MAGISTRATE
                 MAGI         JUDGE




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                                     ATTACHMENT A

       1.       The SUBJECT PARCEL is further described as follows: One USPS Priority Mail

Express parcel bearing USPS tracking number EI 013 965 454 US, addressed to “Al Perez, 1209

Montoya St. NW, Albuquerque, NM 87104” with a return address of “Jerry Perez, 2131 W. Red Range

Way, Phoenix, AZ 85085.” The SUBJECT PARCEL is a large Ready Post brown box, measuring

approximately 20 inches by 14 inches by 10 inches, weighing approximately 11 pounds 2 ounces,

postmarked January 19, 2024, and bearing $126.35 in postage.

       2.       The SUBJECT PARCEL is currently located in the U.S. Postal Inspection

Service, Albuquerque Domicile office, 1135 Broadway Blvd., Albuquerque, NM 87101.
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                                      ATTACHMENT B

Evidence of violations of Title 21, United States Code, Sections 841(a)(1) and 846, including
controlled substances, U.S. currency, and documents related to the distribution of controlled
substances such as drug ledgers, banking and/or money remitter information, and information
leading to the identities of the sender, recipient and source of supply.
